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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

       John Jones et al.,
                                                  *
                       Plaintiffs,
                                                  *
                       v.                                      Civil Action No. 23-3261-BAH
                                                  *
      University of Maryland Baltimore
County et al.,                                    *

                                                  *
                       Defendants.
                                               ******

                                     SCHEDULING ORDER

       This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries
concerning the schedule should be directed to my chambers, not to the Clerk's Office. Any party
who believes that any deadline set forth in this Scheduling Order is unreasonable may request in
writing a modification of the Order or that a conference be held for the purpose of seeking a
modification of the Order, and any such request must be made on or before the first date set forth
in Paragraph I below. Thereafter, the schedule will not be changed except for good cause.

         This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing system
for filing documents with the Clerk and sending case related correspondence to chambers. When
you electronically file a document that, including attachments, is 15 pages or longer, you also
must provide a paper copy of the document and a paper copy of the notice of electronic filing.
The paper copy should be sent to the Clerk’s Office, not directly to my chambers.


                                          I. DEADLINES

       May 21, 2024:                      Deadline for Initial Joint Status Report, including
                                          (1) requests for modification of this Scheduling
                                          Order, (2) joint request for early settlement/ADR
                                          conference, (3) report on deposition hours, and (4)
                                          whether there is unanimous consent to proceed
                                          before a U.S. Magistrate Judge for all proceedings

       May 21, 2024:                      Deadline for conference about discovery of
                                          electronically stored information. (If either or
                                          both parties intend to take such discovery, before
                                          the conference counsel should review the
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                                           Principles for the Discovery of Electronically
                                           Stored Information in Civil Cases prepared by a
                                           Joint bench/bar committee published on the
                                           court’s website.)

        June 21, 2024:                     Moving for joinder of additional parties and
                                           amendment of pleadings

        July 8, 2024:                      Plaintiff’s Rule 26(a)(2) disclosures

        August 5, 2024:                    Defendant’s Rule 26(a)(2) disclosures

        August 19, 2024:                   Plaintiff’s rebuttal Rule 26(a)(2) disclosures

        August 26, 2024:                   Rule 26(e)(2) supplementation of disclosures and
                                           responses

        September 19, 2024:                Discovery deadline; submission of status report

        September 26, 2024:                Requests for admission

        October 21, 2024:                  Dispositive pretrial motions deadline


                                          II. DISCOVERY

Initial Disclosures

        This is an action in which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.

Discovery Conference

         This action is exempted from the requirements of Fed. R. Civ. P. 26(d)(1) and from Fed.
R. Civ. P. 26(f). However, you are encouraged to confer with one another immediately in order
to: (a) identify the issue(s), (b) set a discovery plan, (c) determine if the case can be resolved before
your clients incur further litigation expense, (d) discuss any issues about preserving discoverable
information, and (e) establish a cordial professional relationship among yourselves.

Procedure

        All the provisions of Local Rule 104 apply, including the following:

                a.     All discovery requests must be served in time to assure that they are
                answered before the discovery deadline. An extension of the deadline will not be
                granted because of unanswered discovery requests.


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               b.      The existence of a discovery dispute as to one matter does not justify delay
               in taking any other discovery. The filing of a motion to compel or a motion for a
               protective order will not result in a general extension of the discovery deadline.

               c.     No discovery materials, including Rule 26(a)(1) and Rule 26(a)(2)
               disclosures, should be filed with the court.

               d.     Motions to compel shall be filed in accordance with Local Rule 104.8 and
               applicable CM/ECF procedures.

               e.     Please be familiar with the Discovery Guidelines of this Court which are
               Appendix A to the Local Rules. Appendix D contains guidelines for form
               discovery requests and confidentiality orders that may be helpful to you.

Deposition Hours

        Please confer with one another immediately concerning the number of hours of depositions
which you believe are appropriate. If I have not heard from you by the date set forth in Section I
of this order, each side shall be limited to 15 hours of depositions of fact witnesses (including
parties). (If you agree to another number of deposition hours and notify me of your agreement,
you may consider your agreement approved unless you hear from me to the contrary within 10
days.) If there are two or more parties on a particular side, they must share the deposition time
allotted to their side unless upon your request I otherwise rule. Any colloquy engaged in by
counsel shall be counted against his/her client's deposition time.


                                      III. STATUS REPORT

       The parties shall file on the day of the discovery deadline a status report covering the
following matters:

               a.       Whether discovery has been completed;

               b.       Whether any motions are pending;

               c.       Whether any party intends to file a dispositive pretrial motion;

               d.       Whether the case is to be tried jury or non-jury and the anticipated length of
               trial;

               e.     A certification that the parties have met to conduct serious settlement
               negotiations; and the date, time and place of the meeting and the names of all
               persons participating therein;

               f.     Whether each party believes it would be helpful to refer this case to another
               judge of this court for a settlement or other ADR conference, either before or after

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               the resolution of any dispositive pretrial motion;

               g.      Whether all parties consent, pursuant to 28 U.S.C. § 636(c), to have a U.S.
               Magistrate Judge conduct all further proceedings in this case, either before or after
               the resolution of any dispositive pretrial motion, including trial (jury or non-jury)
               and entry of final judgment.

               h.      Any other matter which you believe should be brought to the court's
               attention.


                           IV. DISPOSITIVE PRETRIAL MOTIONS

       If more than one party intends to file a summary judgment motion, the provisions of Local
Rule 105.2.c apply.

       After motions and responses thereto have been filed, I will advise you if a hearing is to be
scheduled.


                        V. STATUS AND PRETRIAL CONFERENCES

        I will set a scheduling conference after the status report has been filed, unless that report
indicates that one or more of you intends to file a dispositive pretrial motion. In the latter event I
will not set a scheduling conference until after I have ruled upon the motion (or the dispositive
pretrial motion deadline passes without the anticipated motion being filed).

       At the scheduling conference:

               a.     I will set a deadline for submitting the pretrial order, motions in limine,
               proposed voir dire questions and proposed jury instructions;

               b.      I will set a pretrial conference date and a trial date; and

               c.      I will ask you whether a settlement or other ADR conference with a judicial
               officer would be useful, and whether all parties would consent to trial (jury or non-
               jury) before a U.S. Magistrate Judge. Please confer with your client about these
               matters before the conference so that you are in a position to respond.


                                     VI. ATTORNEYS’ FEES

        In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Attorneys’ Fees in Certain Cases which are Appendix B to the Local Rules.


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         VII. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

       The court will demand compliance with the Local Rules and CM/ECF procedures. If you
need to obtain a copy of the Local Rules or the CM/ECF procedures, they are available on our
website at www.mdd.uscourts.gov.


                 VIII. COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2 which has detailed requirements requiring
the redaction of filings with this court that contain an individual's social security number, tax payer
identification number, or birth date, the name of an individual known to be a minor, or a financial
account number. It is essential that counsel comply with this rule and with the revised version of
the Judicial Conference Privacy Policy adopted in March 2008. For further information on the
Judicial Conference Privacy Policy see:
http://www.mdd.uscourts.gov/news/news/privacy_memo.pdf.



Date: May 7, 2024                                                          /s/
                                                       Brendan A. Hurson
                                                       United States District Judge




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